Case 1:19-cv-00033-RJD-SJB Document 52 Filed 04/19/19 Page 1 of 1 PageID #: 297




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

ESTER LELCHOOK, et al.,

               Plaintiffs,

       v.                                           Case No. 1:19-cv- 00033-RJD-SJB
SOCIÉTÉ GÉNÉRALE DE BANQUE AU
LIBAN S.A.L., et al.,

               Defendants.


                      DEFENDANT JAMMAL TRUST BANK S.A.L.’S
                       CORPORATE DISCLOSURE STATEMENT


       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for Defendant

Jammal Trust Bank S.A.L. hereby certifies that Hanover International Holding Limited is a

parent corporation of Jammal Trust Bank S.A.L. and that no publicly held corporation has a 10%

or greater ownership interest in Jammal Trust Bank S.A.L. 1



Dated: April 19, 2019                          Respectfully submitted,


                                               /s/ Christopher M. Curran
                                               Christopher M. Curran

                                               701 Thirteenth Street, NW
                                               Washington, DC 20005
                                               Tel.: (202) 626-3600
                                               Fax: (202) 639-9355
                                               E-mail: ccurran@whitecase.com

                                               Counsel for Defendant Jammal Trust Bank S.A.L.

1        Jammal Trust Bank S.A.L. has not yet responded to the Complaint in this matter. In
filing this Statement, Jammal Trust Bank S.A.L. does not waive, and instead expressly preserves,
all rights, privileges, immunities, affirmative defenses, and other defenses, including all defenses
based upon the lack of personal jurisdiction over it.
